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                                      KIA MOTORS AMERICA, INC., a California corporation; HYUNDAI MOTOR AMERICA,
                                      a California corporation; FCA US LLC, a Delaware limited liability company; MITSUBISHI
                                      MOTORS AMERICA, INC., a Delaware corporation; AMERICAN HONDA MOTOR CO.,IN
                                      a California corporation; ACURA, a Division of American Honda Motor Co., Inc.; TOYOTA
                                      MOTOR SALES, U.S.A., INC. California corporation; ZF TRW AUTOMOTIVE HOLDINGS
                                                                     CORP., a Delaware corporation,
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Case 8:19-cv-01376-DOC-KES Document 11 Filed 07/15/19 Page 3 of 3 Page ID #:111
